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United States Court of Appeals

ELEVENTH CIRCUIT

MONTGOMERY, AL 36101-0867

P.O, BOX 867
TELEPHONE (334) 954-3560

JOEL F. DUBINA
CHIEF JUDGE

December 17, 2012

Mr. Chuck Diard
Clerk
United States District Court
John A. Campbell

United States Courthouse
113 St. Joseph Street, Room 131
Mobile, AL 36602

Re: Dan Allen, et al. v. The City of Evergreen, et al., No. 12-496-CG
Dear Mr. Diard:
Enclosed for filing is a Designation of Three-Judge Court Order.

ordially,

c: Honorable Ed Carnes
Honorable Callie V.S. Granade
Honorable Kristi DuBose
James P. Gerstenlauer, Esq.
John P. Ley, Esq.
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ALABAMA

SOUTHERN DIVISION
DAN ALLEN, BOBBY WATKINS ) No. 12-496-CG
and ALBERTA LEE, )
) 1. Requesting Judge
Plaintiffs, )
) Honorable Callie V.S. Granade
V. )
) 2. District Judge
THE CITY OF EVERGREEN, )
ALABAMA; PETE WOLFF III, ) Honorable Kristi DuBose
Mayor of the City of Evergreen, )
LUTHER UPTON, DIANE SKIPPER, ) 3. Circuit Judge
JOHN SKINNER, JR., VIVIAN )
FOUNTAIN and MAXINE HARRIS ) Honorable Ed Carnes
Council members of the City of )
Evergree; BECKY B. ROBINSON, )
City Clerk for the City of Evergreen; )
)
Defendants. )

DESIGNATION OF THREE-JUDGE COURT
[42 U.S.C. § 1973 and 28 U.S.C. § 22284]
ORDER

The Requesting Judge, Honorable Callie V.S. Granade, to whom an application for relief
has been presented in the above cause, having notified me that the action is one required by Act
of Congress to be heard and determined by a District Court of three judges, I, Joel F. Dubina,
Chief Judge of the Eleventh Circuit, hereby designate Circuit Judge Ed Carnes and District Judge
Kristi DuBose to serve with the Requesting Judge, Callie V.S. Granade, as members of the said
Court to hear and determine the action.

This designation and composition of the three-judge court is not a prejudgment, express
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or implied, as to whether this is properly a case for a three-judge court rather than a one-judge
court. This is a matter best determined by a three-judge court as this enables a simultaneous
appeal to the Court of Appeals and to the Supreme Court without the delay, awkwardness, and
administrative inefficiency of proceeding by way of mandamus from either the Court of Appeals,
the Supreme Court, or both, directed against the Chief Judge of the Circuit, the presiding district
judge, or both. The parties will be afforded the opportunity to brief and argue all questions
before the three-judge court, either preliminarily or on the trial of the merits, or otherwise, as the
court thinks appropriate.

DATED this 17th day of December, 2012.

EF JUDGE
United States Court of Appeals
For the Eleventh Circuit
